Case 20-20425-GLT
  Case 20-20425-GLT Doc 127
                      Doc 95-3Filed  04/01/20
                                  Filed 03/11/20Entered 04/01/20
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                                                           03/11/20 11:36:04Desc Main
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                            Document        Page 1 of
                          Proposed Order Page 1 of 2  2
                                                                     FILED
                                                                          4/1/20 10:33 am
                                                                          CLERK
                                                                          U.S. BANKRUPTCY
                                                                          COURT - :'3$
                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 VIDEOMINING CORPORATION,                        Bankruptcy No. 20-20425-GLT

               Debtor.                           Chapter 11

 VIDEOMINING CORPORATION,                        Document No. 95

               Movant,
         vs.

 NO RESPONDENT.

         ORDER APPROVING RETENTION OF ONMYODO, LLC AS FINANCIAL
          CONSULTANT NUNC PRO TUNC EFFECTIVE FEBRUARY 4, 2020

         AND NOW, this ______
                        1st   day of _________________,
                                       April            2020, upon consideration of

 the APPLICATION FOR APPROVAL OF ONMYODO, LLC AS FINANCIAL

 CONSULTANT        NUNC     PRO    TUNC     EFFECTIVE      FEBRUARY       4,   2020   (the

 “Application”), it is ORDERED, ADJUDGED and DECREED as follows:

         1.    The above referenced Application is hereby approved as of February 4,

 2020.

         2.    Christopher E. Bossi, Managing Member of Onmyodo, LLC, 3105 Granada

 Way, Altoona, PA 16601 is hereby appointed as Financial Consultant for the Debtor in

 this bankruptcy proceeding pursuant to the terms described in Exhibit A which is attached

 to the Application, for the purpose of acting as the Debtor’s Financial Consultant to

 provide financial services which services are outlined in the Application. Pursuant to the

 Professional Services Agreement attached as Exhibit A, the Financial Consultants rates
Case 20-20425-GLT
  Case 20-20425-GLT Doc 127
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                                                           03/11/20 11:36:04Desc Main
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                          Proposed Order Page 2 of 2  2



 are not to exceed $100 per hour or $750 per day, whichever is less. Estimated days per

 month required is 10 – 15. Rates are subject to final Court Order.

        3.     Approval of any application for appointment of a professional in which

 certain fees are requested is not an agreement by the Court to allow such fees in the

 requested amount.      Final compensation, as awarded by the Court after notice and

 hearing, may be more or less than the requested amount based on application of the

 above criteria.

        4.     Applicant shall serve the within Order on all interested parties and file

 a certificate of service.



                                                ______________________________
                   Robert Lampl, Esq.           Gregory L. Taddonio
                                                United States Bankruptcy Court Judge


 c:     Debtor
        Counsel
        C
        Co  unsel
           April 01, 2020
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